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                         EXHIBIT 1
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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:


           DECLARATION OF ROBERT J. COSTELLO, ESQUIRE

      Robert J. Costello declares the following:
      1.   I am submitting this Declaration in support of the Defendant, Stephen K. Bannon’s
           Reply to the Government’s Opposition to the Defendant’s Motion to Compel
           Disclosure of the Government’s Efforts to Obtain Telephone and Email Records of
           Mr. Bannon’s Attorneys in the above-captioned case. This Declaration is based on
           my personal knowledge.

      2. I am a partner with the New York law firm Davidoff Hutcher & Citron LLP and I have
         been an attorney for almost fifty years. I previously served as the Deputy Chief of the
         Criminal Division of the United States Attorney’s Office for the Southern District of
         New York.

      3. I have no association whatsoever with email accounts with the addresses
         “RobertCostello@gmail.com,”       or      “Robert.Costello@gmail.com,” or
         “Robert.Costello@comcast.net” or “bobcostello@yahoo.com.”

      4. At no time did I authorize the Government to obtain records for any of my telephones
         and I use the phones for which I now know the Government obtained records for
         attorney-client privileged calls and texts and for attorney-client work product tasks. I
         firmly believe that simply knowing who I am calling and who is calling me risks
         revealing attorney-client privileged and work-product information I have intended to
         keep absolutely private and privileged. Knowing who I am calling on these phones at
         issue could alert someone viewing the records as to my legal strategy in this case or
         for any of my other clients.

      5. As the chronology of my communications with the Government in this case support,
         I believe the Government acted deceptively and duplicitously and certainly not in
         good-faith with respect to our discussions.
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The following is a chronology of my interaction with the Government in this matter as
supported by the attached Exhibits, to which reference is made:

 6. On October 25, 2021, I sent an email in my capacity as Mr. Bannon’s attorney to both
    J.P. Cooney, Chief of the Public Integrity Unit of the USADOC and Channing Phillips,
    the Acting United States Attorney. Ex. A. The email stated:
       My name is Robert J. Costello and I am the attorney for Stephen K. Bannon.
       Recently, the House of representatives referred Stephen K. Bannon to your Office
       for consideration of filing criminal contempt of Congress charges. In an effort to
       convince your office that such charges would not be appropriate in light of the facts,
       law and Justice Department precedent, would you be kind enough to advise me of
       a contact person to correspond with.
Id.
7. Later that day, Mr. Cooney responded to my email by stating:
     Thank you for your email. My colleagues, Molly Gaston and Amanda Vaughn, and
     I would be please to meet with you. How is Wednesday at 10:00am? We are
     available to meet with you here at the U.S. Attorney’s Office or by video
     conference.
Id.
 8. I responded an hour later and requested that the meeting take place after October 27,
    2021 so that I could finish preparing a legal memorandum which outlined the reasons
    why the U.S. Attorney’s office should decline to prosecute Mr. Bannon. Id.

 9. A WebEx videoconference meeting was ultimately set for November 3, 2021. Ex. B.

 10. On November 1, 2021, two days before the scheduled meeting, I emailed Mr. Cooney
     my legal memorandum in support of Mr. Bannon’s position that he should not be
     prosecuted for criminal contempt. Ex. C.

 11. The invitation for the WebEx meeting only included myself and attorneys from the
     Government. [CITE]. In advance of the meeting, Mr. Costello informed that
     Government that Adam Katz, Esq. would also be joining the call on behalf of Mr.
     Bannon. Ex. D.

 12. When myself and Mr. Katz joined the meeting, we were informed that four FBI agents,
     who did not appear on the video screen would be listening to the meeting. There was
     no statement made that this was an interview of myself and Mr. Katz by the FBI.

 13. The FBI agents remained silent while the attorneys discussed Mr. Bannon’s case.



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 14. After the meeting, on the evening of November 3, 2021, Mr. Cooney sent me a follow
     up email with Assistant U.S. Attorneys Molly Gaston and Amanda Vaughn copied
     thereto. Ex. E. The email stated:

       Thank you again for the memorandum you forwarded us on Monday and for
       meeting with us today. As promised, a list of the U.S. Attorney’s Office and FBI
       participants in the meeting is below.

       Attached please find a letter memorializing our document requests. If you have any
       questions or concerns, please do not hesitate to email or call. Could you also please
       do us the favor of forwarding this to Adam Katz and letting us know his contact
       information?

       Thank you,
       J.P. Cooney

       U.S. Attorney’s Office for the District of Columbia
       Public Corruption & Civil Rights Section
       J.P. Cooney, Chief
       Molly Gaston, Acting Deputy Chief
       Amanda Vaughn, Assistant United States Attorney
       Chad Byron, Paralegal

       FBI Washington Field Office
       SA Frank D’Amico
       SA Stephen Hart
       SA Matthew Lariccia
       SA Katherine Pattillo
Id.
 15. In response, I sent Mr. Cooney an email attaching all of my communications with the
     Select Committee. Exs. F-G.

 16. On the evening of November 4, 2021, Mr. Cooney sent me the following email:

       Enclosed, please find a cover letter, Bates stamped compilation of your production
       to us, and index. As inquired in the letter, could you please review and let us know
       if this constitutes your entire production?

       Thank you again for meeting with us yesterday. Are you and Mr. Katz available for
       another video conference? We have a few follow up questions. We can be available
       tomorrow (Friday) afternoon at or after 2:30; or Monday? Please let us know a time
       or times that work for you and Mr. Katz.

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Ex. H.
 17. Later that evening, I replied, in relevant part:
         As far as a follow up interview, I will check with Adam Katz for his availability,
         [b]ut mine would be Monday afternoon or Wednesday. As soon as I reach Adam, I
         will let you know.
         You are being very diligent in collecting documents, but that factual background is
         unnecessary according to the OLC opinions of May 13, 2019 and February 29,
         2008. That being said, I will be happy to answer any follow up questions you have.
Id.


 18. A follow up WebEx video meeting took place on November 8, 2021, and FBI agents
     again attended, not on the video and whose stated purpose was just to listen. See US-
     001179-001782.

 19. Both myself and Mr. Katz were under the impression that the purpose of these
     meetings was to give the defense an opportunity to explain why prosecuting Mr.
     Bannon would be inconsistent with the law and Justice Department policy. However,
     as evidenced by the later received two FBI 302s detailing Mr. Costello’s statements
     in these meetings, the FBI agents who attended these meetings treated them as formal
     witness interviews. See US 001769-001782.

 20. Also unbeknownst to both myself and Mr. Katz, during the same two-week time
     period thatI was communicating with Mr. Cooney in my capacity as Mr. Bannon’s
     attorney, Mr. Cooney’s team was surreptitiously subpoenaing my home, direct office
     line and cell phone records for the period September 1, 2021 to October 20, 2021. US-
     001833-001878.

21. The Government further issued numerous subpoenas for information regarding email
    accounts associated with persons named Robert Costello. Many of these subpoenas
    yielded information for private citizens who, though named Robert Costello, are not
    me and have no connection with this case. U.S. 001093-1095, 001151-1768, 001808-
    1811.

22. Despite the fact that the Government was aware as early as September of 2021 that I
    was representing Mr. Bannon in connection with this case, the Government did not
    disclose its attempts to subpoena my personal phone and email accounts until over
    four months later, on January 4, 2022. See January 4, 2022, Letter from AUSA
    Matthew Graves to Defense Counsel Re: United States v. Stephen K. Bannon, No
    21-cr-00670 (CJN).



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23. The Government now attempts to belatedly justify its unlawful interference into Mr.
    Bannon and my attorney-client relationship, as well as its unjustified intrusion into the
    personal email accounts of private citizens, by putting forth the dubious contention
    that I am a witness against Mr. Bannon.

24. In hindsight and with the benefit of the limited discovery that has been made available,
    it is clear to me that the representatives of the United States Attorney’s Office for the
    District of Columbia never had any intention of engaging in a lawyer like discussion
    of the legal merits of a prosecution of Mr. Bannon for criminal contempt of Congress.
    This position was and is shocking to me because of the many prior instances when this
    same Office declined to prosecute others, including sitting United States Attorney
    Generals based upon a referral from Congress. Those prior cases did not have the
    benefit of several of the opinions I had from the Office of Legal Counsel. Those
    opinions are binding upon the Executive Branch and the United States Attorney’s
    Office is part of the Executive Branch. Based upon that, and other legal obstacles, I
    believed the representatives of that Office would take these proposed discussions
    seriously in light of the past precedent.

25. The discovery has revealed that my belief was wrong. The representatives of the
    United States Attorney’s Office had no intention of not prosecuting Mr. Bannon. The
    clearest proof of that is that on the very first day when I made contact with that office,
    on October 25, 2021, to find a contact person, they issued a grand jury subpoena for
    my cell phone records. Their intent was to try and make me a witness against my own
    client, a factually absurd position, but one which they espoused as their excuse or
    justification when they had to reveal in discovery what they had done.

26. Simply stated, I can think of no greater example of interference with Mr. Bannon’s
    Sixth Amendment right to counsel than to try and make it appear that Bannon’s
    counsel of choice is now an adversaryas a witness against him. To further exacerbate
    this effort at interfering with Mr. Bannon’s Sixth Amendment rights, the Government
    made an in limine motion to deny the admission of advice of counsel defense,
    essentially stating that the advice Mr. Bannon received from me about the Office of
    Legal Counsel’s opinions was worthless. Could the Government mount any more
    aggressive attack on the attorney client relationship than this. I think not. This kind
    of prosecutorial abuse cannot be tolerated. I have been a federal prosecutor myself,
    having served as the Deputy Chief of the Criminal Division in the Southern District
    of New York. I have never even heard of tactics like this. This Court needs to
    intervene.




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       Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury under the laws of the United

States of America, that the foregoing is true and correct.

Executed on March 8, 2022
New York, New York
                                                 /s/ Robert J. Costello
                                              Robert J. Costello (pro hac vice)
                                              Davidoff Hutcher & Citron LLP
                                              605 Third Avenue
                                              New York, New York 10158
                                              Telephone: (212) 557-7200
                                              Facsimile: (212) 286-1884
                                              Email: rjc@dhclegal.com




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           EXHIBIT A
                Case 1:21-cr-00670-CJN Document 34-1 Filed 03/08/22 Page 9 of 37




From:                            Costello, Robert J.
Sent:                            Monday, October 25, 2021 3:14 PM
To:                              Cooney, Joseph (USADC)
Subject:                         Re: Stephen K. Bannon


Dear Mr. Cooney,
   Thank you for the speedy response. I am currently preparing a memo that outlines our position. I think it would be
most useful to all of us if you had that memo in advance of any discussion. I hope to be finished with the memo by
Wednesday and we could schedule a videoconference for a time of your convenience after Wednesday. Is that an
acceptable schedule for you?
                Bob Costello

Sent from my iPhone



       On Oct 25, 2021, at 2:17 PM, Cooney, Joseph (USADC) <Joseph.Cooney@usdoj.gov> wrote:


       CAUTION: EXTERNAL MAIL. DO NOT CLICK ON LINKS OR OPEN ATTACHMENTS YOU DO NOT TRUST

       Mr. Costello:

       Thank you for your email. My colleagues, Molly Gaston and Amanda Vaughn, and I would be pleased to
       meet with you. How is Wednesday at 10:00am? We are available to meet with you here at the U.S.
       Attorney's Office or by videoconference.

       J.P. Cooney




       From: Costello, Robert J. < rjc@dhclegal.com>
       Sent: Monday, October 25, 2021 11:34 AM
       To: Phillips, Channing (USADC) <CPhillipsl@usa.doj.gov>; Cooney, Joseph (USADC)
       <JCooney@usa.doj.gov>
       Subject: [EXTERNAL] Stephen K. Bannon




       Gentlemen,
          My name is Robert J. Costello and I am the attorney for Stephen K.
       Bannon. Recently, the House of Representatives referred Stephen K. Bannon to
       your Office for consideration of filing criminal contempt of Congress charges. In
       an effort to convince your office that such charges would not be appropriate in
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light of the facts, law and Justice Department precedent, would you be kind enough
to advise me of a contact person to correspond with.

        Thank you for your consideration,

           Robert J. Costello

IMPORTANT NOTICE:Beware of Cyber Fraud. You should never
wire money to any bank account that our office provides to you via email
without first speaking with our office. Further,do not accept emailed
wiring instructions from anyone else without voice verification from a known
employee of our office. Even if an email looks like it has come from this
office or someone involved in your transaction. Please call us first at a number
you know to be correct for this office to verify the information before wiring
any money. Be particularly wary of any request to change wiring instructions
you already received.
***********************************************************************
STATEMENT OF CONFIDENTIALITY
The information contained in this electronic message and any
attachments to this message are intended for the exclusive use of the
addressee(s) and may contain confidential or privileged information.
If you are not the intended recipient, please notify us immediately
by email reply to sender or by telephone to Davidoff Hutcher & Citron
LLP at (800) 793-2843, ext. 3284, and destroy all copies of this
message and any attachments.

IRS DISCLOSURE NOTICE
In accordance with Internal Revenue Service Circular 230, we inform
you that any discussion of a federal tax issue contained in this
communication (including any attachments) is not intended or written
to be used, and it cannot be used, by any recipient for the purpose of
(i) avoiding penalties that may be imposed on the recipient under
United States federal tax laws, or (ii) promoting, marketing or
recommending to another party any tax-related matters addressed herein.
***********************************************************************




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           EXHIBIT B
               Case 1:21-cr-00670-CJN Document 34-1 Filed 03/08/22 Page 12 of 37




From:                             Cooney, Joseph (USADC) <Joseph.Cooney@usdoj.gov>
Sent:                             Friday, October 29, 2021 5:48 PM
To:                               Costello, Robert J.
Cc:                               Gaston, Molly (USADC); Vaughn, Amanda (USADC)
Subject:                          RE: Steve Bannon


CAUTION: EXTERNAL MAIL. DO NOT CLICK ON LINKS OR OPEN ATTACHMENTS YOU DO NOT TRUST

Thank you, Mr. Costello. How about 12:00pm on Wednesday, November 3, for a videoconference?

J.P. Cooney

-----Original Message-----
From: Costello, Robert J. <rjc@dhclegal.com>
Sent: Friday, October 29, 2021 3:51 PM
To: Cooney, Joseph (USADC) <JCooney@usa.doj.gov>
Subject: [EXTERNAL] Re: Steve Bannon

Sure, whatever works for you, I will make myself available.
             Bob Costello

Sent from my iPhone

> On Oct 29, 2021, at 3:00 PM, Cooney, Joseph (USADC) <Joseph.Cooney@usdoj.gov> wrote:
>
> CAUTION: EXTERNAL MAIL. DO NOT CLICK ON LINKS OR OPEN ATTACHMENTS YOU
> DO NOT TRUST
>
> Thank you. We will look out for the memorandum on Monday morning.
>
> How about we set down a time to talk on Wednesday next week?
>
> J.P. Cooney
>
> -----Original Message-----
> From: Costello, Robert J.<rjc@dhclegal.com>
> Sent: Friday, October 29, 2021 2:36 PM
> To: Cooney, Joseph (USADC) <JCooney@usa.doj.gov>
> Cc: Gaston, Molly (USADC) < MGaston2@usa.doj.gov>; Vaughn, Amanda
> (USADC) <AVaughn@usa.doj.gov>
> Subject: [EXTERNAL] Re: Steve Bannon
>
> Mr. Bannon has been traveling and difficult for me to pin down. I have now done that and I will have the
memorandum for you on Monday morning. I appreciate your patience and understanding.
>                Bob Costello
>
> Sent from my iPhone
>
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           EXHIBIT C
               Case 1:21-cr-00670-CJN Document 34-1 Filed 03/08/22 Page 15 of 37




From:                       Costello, Robert J.
Sent:                       Monday, November 1, 2021 1 :40 PM
To:                         'Joseph.Cooney@usdoj.gov'
Subject:                    Final Declination (00935612-3x7F7DD).pdf
Attachments:                Final Declination (00935612-3x7F7DD).pdf


Dear Mr. Cooney,
   Attached please find my memo outlining the reasons I believe your Office should decline
prosecution of Stephen K. Bannon for criminal contempt of Congress. We are still on schedule
for a video conference call on Wednesday at 12 Noon.
                                            Bob Costello




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           EXHIBIT D
               Case 1:21-cr-00670-CJN Document 34-1 Filed 03/08/22 Page 26 of 37




From:                             Costello, Robert J.
Sent:                             Wednesday, November 3, 2021 11 :28 AM
To:                               Joseph Cooney
Subject:                          WebEx


Mr. Cooney,
  I just wanted to alert you that I will be joined today around 12:15 by Adam Katz Esq., who worked with me on the
memo we provided to your office. Mr. Katz is conducting a court ordered deposition which is why he will be a little late.
We will not need to wait for him.
                Bob Costello




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           EXHIBIT E
                Case 1:21-cr-00670-CJN Document 34-1 Filed 03/08/22 Page 28 of 37




From:                              Cooney, Joseph (USADC) <Joseph.Cooney@usdoj.gov>
Sent:                              Wednesday, November 3, 2021 5:57 PM
To:                                Costello, Robert J.
Cc:                                Gaston, Molly (USADC); Vaughn, Amanda (USADC)
Subject:                           Meeting Follow-Up
Attachments:                       Letter to Robert Costello-11.03.2021.pdf


CAUTION: EXTERNAL MAIL. DO NOT CLICK ON LINKS OR OPEN ATTACHMENTS YOU DO NOT TRUST

Dear Mr. Costello:

Thank you again for the memorandum you forwarded us on Monday and for meeting with us today. As promised, a list
of the U.S. Attorney's Office and FBI participants in the meeting is below.

Attached, please find a letter memorializing our document requests. lf you have any questions or concerns, please do
not hesitate to email or call. Could you also please do us the favor of forwarding this to Adam Katz and letting us know
his contact information?

Thank you,

J.P. Cooney

U.S. Attorney's Office for the District of Columbia, Public Corruption & Civil Rights Section
J.P. Cooney, Chief
Molly Gaston, Acting Deputy Chief
Amanda Vaughn, Assistant United States Attorney
Chad Byron, Paralegal

FBI, Washington Field Office
SA Frank D' Amico
SA Stephen Hart
SA Matthew Lariccia
SA Katherine Pattillo




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           EXHIBIT F
               Case 1:21-cr-00670-CJN Document 34-1 Filed 03/08/22 Page 32 of 37




From:                             Costello, Robert J.
Sent:                             Wednesday, November 3, 2021 8:49 PM
To:                               'Joseph.Cooney@usdoj.gov'
Subject:                          FW: Transfer file from "Epson Connect Scan to Cloud"
Attachments:                      Epson_11032021171431.pdf


Dear Mr. Cooney,
    Attached please find a file which contains all of the correspondence between and among , the Select Committee,
myself, and White House Counsel. Please excuse the line through the documents which is the result of my home
scanner malfunctioning. I will endeavor to provide you with a clean copy without the line in the near future. As soon as
I locate the letter I received from Justin Clark, acting as counsel for President Trump, I will forward that under separate
cover.
    The documents provided are in chronological order beginning with:

    1. My October 7 , 2021 letter to the Committee;
    2. October 8, 2021 response from the Committee;
    3. My October 13, 2021 response to the Committee's October 8, 2021 letter;
    4. October 15, 2021 response form the Committee;
    5 & 6. By separate email, I sent the October 18, 2021 draft to the Committee that was not sent and the October 18,
request for an adjournment which was sent.
    7. October 18, 2021 letter from White House Counsel received at 6:50pm;
    8. October 19, 2021 letter from the Committee denying the requested adjournment to consider the Trump Lawsuit
received at 10:46 am.
    9. October 19, 2021 letter from The Committee, received at 8:49 pm, after the Committee vote to recommend
criminal contempt charges, asking Bannon to "change course."

                                                                           Bob Costello




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           EXHIBIT G
                 Case 1:21-cr-00670-CJN Document 34-1 Filed 03/08/22 Page 34 of 37




From:                                Costello, Robert J.
Sent:                                Wednesday, November 3, 2021 7:59 PM
To:                                  'Joseph.Cooney@usdoj.gov'
Subject:                              FW: Steve Bannon: Touching base about tomorrow


   The below email references a telephone call between myself and Sean Tonolli, the night
before, October 12, 2021 which is when I mentioned the rule about no attorneys other than
Bannon's personal counsel could attend. I also told Mr.Tonolli that I would be sending
Chairman Thompson a letter informing him that Mr. Bannon would not be appearing for the
deposition. I promised Mr. Tonolli that I would send him a copy of that letter
   Tonolli told me he had worked at Cahill Gordon and I told him I went to law school with
Tom Kavaler.
                                                                               Bob Costello

From: Tonolli, Sean<Sean.Tonolli@mail.house.gov>
Sent: Wednesday, October 13, 202112:35 PM
To: Costello, Robert J.<rjc@dhclegal.com>
Subject: Steve Bannon: Touching base about tomorrow

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Bob,

It was good talking with you last night. And hearing your take on Tom Kavaler.

Did you end up sending your letter, or is it on the way?

If you and your client are coming, I need to arrange the logistics. You will need to meet with a member of our security
team, who, because of COVID restrictions, has to escort you into and through the building.

Can you give me a call to discuss? My numbers are below.

Thanks,
Sean


Sean P. Tonolli
Senior Investigative Counsel
Select Committee to Investigate
 the January 6th Attack on the United States Capitol
U.S. House of Representatives
(202) 226-2888 (o) / (202) 308-5947 (c)




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           EXHIBIT H
               Case 1:21-cr-00670-CJN Document 34-1 Filed 03/08/22 Page 36 of 37




From:                           Costello, Robert J.
Sent:                           Thursday, November 4, 2021 11:13 PM
To:                             Cooney, Joseph (USADC)
Subject:                        Re: Follow Up on 11/3/2021 Meeting


You're working too late.

Sent from my iPhone



        On Nov 4, 2021, at 11:05 PM, Cooney, Joseph (USADC) <Joseph.Cooney@usdoj.gov> wrote:


       CAUTION: EXTERNAL MAIL. DO NOT CLICK ON LINKS OR OPEN ATTACHMENTS YOU DO NOT TRUST

       Thank you very much, Mr. Costello.




       From: Costello, Robert J.<rjc@dhclegal.com>
       Sent: Thursday, November 4, 2021 10:58 PM
       To: Cooney, Joseph (USADC) <JCooney@usa.doj.gov>
       Subject: [EXTERNAL] Re: Follow Up on 11/3/2021 Meeting



          In response to your letter, I went through my emails both incoming and outgoing. At the risk of being
       redundant, I sent you a number of emails which in several cases is rally the covering email which will
       show you when the email was received or sent.
         I will try to go over my text messages over the weekend, to make sure I have provided you what we
       have.
          You have bates stamped all of the documents I provided before tonight, but they are not in
       chronological order.
           As far as a follow up interview I will check with Adam Katz for his availability,
       But mine would be Monday afternoon or Wednesday. As soon as I reach Adam I will let you know.
          You are being very diligent in collecting documents, but that factual background is unnecessary
       according to the OLC opinions of May 13,2019 and February 29, 2008. That being said, I will be happy to
       answer any follow up questions you may have.
                     Bob Costello

        Sent from my iPhone
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